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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-CR-204 (BAH)
               v.                             :
                                              :
MATTHEW BLEDSOE,                              :
                                              :
                       Defendant              :


                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
              MOTION TO SUPPRESS EVIDENCE OBTAINED PURSUANT
                           TO SEARCH WARRANT

       Matthew Bledsoe traveled from his home in Cordova, Tennessee, to Washington, D.C.,

where he joined a mob outside of the U.S. Capitol on January 6, 2021. Bledsoe was part of the

group that illegally entered the U.S. Capitol on January 6 after a mob forced its way through, up

and over the barricades and officers, then forced entry into the Capitol Building. His journey

was documented through photos and videos, and a video compilation was posted to his

Instagram account—theessentialmattbledsoe.

       In a matter of days, Bledsoe was fully identified. The FBI obtained a search warrant for

Bledsoe’s home to search for and seize evidence of his participation in the Capitol breach.

Agents searched his home on January 15, 2021, and they seized two iPhones, among other items.

       Bledsoe now moves to suppress evidence—including derivative evidence—from the cell

phones seized. ECF 183. Bledsoe ignores facts from the affidavit 1 to boldly assert that probable

cause was lacking. The Court should deny Bledsoe’s motion. First, the warrant described the

electronic devices subject to seizure with sufficient particularity. Second, the search warrant



1
 The Search Warrant was issued in the United States District Court for the Western District of
Tennessee in case number 21-SW-019. A copy of the Search Warrant and Search Warrant
Application are attached as Exhibit A.
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affidavit provided a sufficient nexus to establish the likelihood that the cell phones contained

evidence of Bledsoe’s participation in the January 6 breach of the United States Capitol. Further,

even if there is any reason to question the existence of probable cause—and there is not—law

enforcement objectively, reasonably, and in good faith, relied upon the magistrate’s

authorizations. Quite simply, the evidence should not be suppressed.

                          I. STATEMENT OF RELEVANT FACTS

       Bledsoe, a resident of Cordova, Tennessee, traveled to Washington, D.C. in advance of a

joint session of the United States Congress, which was convened at the United States Capitol on

January 6, 2021, to certify the vote count of the Electoral College of the 2020 Presidential

Election.

       A mass of individuals gathered outside of the United States Capitol on January 6. The

Capitol, including the exterior plaza, was closed to members of the public. Exhibit A, Affidavit

of FBI Task Force Office Kenneth Hale in Support of Search Warrant Application (“Hale Aff.”),

¶¶ 5–6. The Capitol doors and windows were locked or otherwise secured. Hale Aff., ¶ 9.

Shortly after 2:00 p.m., while the joint session was underway, individuals in the crowd forced

entry into the United States Capitol. Hale Aff., ¶ 9. Within minutes the joint session was

suspended and Vice President Mike Pence and others evacuated the chambers. Hale Aff., ¶ 10.

After the Capitol building was breached, Bledsoe found his way inside. Bledsoe’s trip to

Washington, D.C. on January 6 was documented through photographs and videos which were

posted to his Instagram account, “theessentialmattbledsoe”. Hale Aff., ¶¶ 13–16.

       In the aftermath of the Capitol breach, the FBI was flooded with tips about the identities

of individuals who entered the United States Capitol. One of those tips named Bledsoe as part of




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a group that illegally entered the Capitol building on January 6. Agents followed up on the tip

and were given the video compilation posted to Bledsoe’s Instagram account. Hale Aff., ¶ 12.

        Agents watched the video compilation, which included several selfie photographs of

Bledsoe and some video clips. The video compilation documented a crowd approaching the

United States Capitol Building, a photograph of individuals scaling walls outside the Capitol

Building, and clips of Bledsoe and his companions immediately outside an exterior door of the

Capitol building while an alarm is blaring in the background, among other things. Hale Aff., ¶¶

13–16. Bledsoe seemed to be walking and talking with a mobile device while videotaping his

entry into the United States Capitol and a march through its halls. Hale Aff., ¶ 12.

        In the very early stages of its investigation into Bledsoe, FBI agents were also alerted to a

Facebook post by Bledsoe’s wife. Hale Aff., ¶ 19. The post asserted that her husband, Matt

Bledsoe, was at the United States Capitol. Hale Aff., ¶ 19. Not only was he there, “he was one

of the first.” Hale Aff., ¶ 19. She stated, “[w]e have lots of pictures and videos.” Hale Aff.,

¶ 19.

        On January 14, 2021, an FBI agent applied for a search warrant to search Bledsoe’s home

in Cordova, Tennessee for evidence of Bledsoe’s alleged violations of unlawfully entering into

the United States Capitol building and restricted grounds, and violent entry and disorderly

conduct on Capitol Grounds. See generally Exhibit A. Based upon the information FBI agents

learned about Bledsoe’s probable use of a mobile device to document his January 6 journey—

and his wife’s post that they “have lots of pictures and videos”—the agent sought permission to

search for information stored on “a computer’s hard drive or other storage media, including cell

phones.” The agent articulated further reasons to justify a search of any “computer or storage

medium, including a cell phone, found in Bledsoe’s home:



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               Individuals who engage in criminal activity, including violations of
               18 U.S.C. § 1752(a) (Knowingly Entering or Remaining in any
               Restricted Building or Grounds without Lawful Authority) and 40
               U.S.C. § 5014(e)(2) (Violent Entry and Disorderly Conduct on
               Capitol Grounds), use digital devices, like cell phones or
               computers, to access websites to facilitate illegal activity and to
               communicate with co-conspirators online; to store on digital
               devices, like cell phones or computers, documents and records
               relating to their illegal activity, which can include logs of online
               chats with co-conspirators; social media posting information; … I
               also know that individuals who are involved in criminal conduct
               similar to what is described herein often use electronic devices,
               cellular telephones and computers to record activity and also to
               post recordings to social media. Individuals engaging in the
               conduct described herein usually keep their electronic devices
               close to their person or stored in their residence.

       Hale Aff., ¶ 27(1).

       A magistrate judge authorized the search warrant the same day. It permitted law

enforcement to search Bledsoe’s home and seize items related to the alleged crimes, including

“[c]ellular telephones and other mobile devices, including tablets, cameras, mobile video

cameras, and other mobile electronic devices,” among other things. See Ex. A, p. 27 (Att. B).

       Agents searched Bledsoe’s home on the morning of January 15, barely more than a week

after his trip to Washington, D.C. and the United States Capitol. Among the items seized were

two iPhones—one in a black case and one in a green case. Ex. A, p. 31 (Return).

                             II. APPLICABLE LEGAL PRINCIPLES

       In evaluating probable cause, the assessment should be a “practical, common-sense

decision whether, when given all the circumstances set forth in the affidavit … there is a fair

probability that contraband or evidence of a crime will be found in a particular place.” United

States v. Cardoza, 713 F.3d 656, 659 (D.C. Cir. 2013) (citing Illinois v. Gates, 462 U.S. 213

(1983)). The sufficiency of the showing underlying the issuance of a search warrant requires




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“not a prima facie showing” but only a “fair probability.” Gates, 462 U.S. at 235. In District of

Columbia v. Wesby, the Supreme Court recently further reaffirmed that:

               Because probable cause deals with probabilities and depends on
               the totality of the circumstances, it is a fluid concept that is not
               readily, or even usefully, reduced to a neat set of legal rules. It
               requires only a probability or substantial chance of criminal
               activity, not an actual showing of such activity.

538 U.S. ___, 138 S. Ct. 577, 586 (2018) (citations and punctuation omitted).

        As articulated by the Court, “[p]robable cause is not a high bar.” Id. Probable cause is

satisfied when the search warrant application provides (1) a substantial basis for concluding that

a search will uncover evidence of wrongdoing from a particular location, and (2) that a nexus

exists between the item seized and criminal behavior. United States v. Griffith, 867 F.3d 1265,

1721 (D.C. Cir. 2017) (citations and punctuation omitted).

        Moreover, “[u]nder United States v. Leon, [468 U.S. 897 (1984)] suppression of evidence

is usually not required when officers conduct a search in reasonable reliance on a search warrant

issued by a detached and neutral magistrate.” Cardoza, 713 F.3d at 658 (citing Leon, 468 U.S. at

913).

                                        III. ARGUMENT

        This Court should deny Bledsoe’s Motion to Suppress data—and derivative evidence and

information—recovered from the searches of cell phones seized from his home during execution

of a search warrant.

        A.     The search warrant application described the cell phones subject to seizure
               and search with sufficient particularity.

        The search warrant satisfied the constitutional requirement to describe the cell phones

with particularity when it expressly authorized agents to search for and seize “cellular telephones

and other mobile devices, …” The Fourth Amendment requires that warrants “particularly

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describe[e]” the “things to be seized.” U.S. Const. amend. IV. This requirement ensures that a

search is “carefully tailored” to avoid a “wide-ranging exploratory search.” Griffith, 867 F.3d at

1275 (citing Maryland v. Garrison, 480 U.S. 79, 84 (1987)). However, the requirement of

particularity does not preclude a general description of an object—such as a cell phone—when

there is probable cause to seize it but specific information about the object is lacking. Id. at

1276. The court in Griffith described such a situation: “police might learn a suspect uses a

phone through an informant” but “have no ability to describe the specific characteristics of any

phone belonging to him.” Id. In this situation, in order to determine relevance to the

investigation, devices fitting the general description of objects subject to seizure would need to

“be examined, at least cursorily.” Id. (quoting Andresen v. Maryland, 427 U.S. 463, 482 n. 11

(1976)). Thus, greater latitude is preserved to search and seize electronic devices for which

probable cause exists.

       United States v. Smith, 2021WL 2982144 (D.D.C. July 15, 2021) (Howell, C.J.)

exemplifies this principle. Officers investigating sexual assault allegations sought a warrant to

seize electronic devices from the defendant’s home and search them for evidence of the crime.

Id. at *1. The officers did not have specific descriptions of the devices that may contain

evidence, and only general language was included in the affidavit. The defendant argued that

because the government could not readily identify the device it was seeking that allegedly

contained evidence of his crimes, the scope of the warrant lacked particularity and was

overbroad, requiring suppression of the evidence. Id. at *7. This Court disagreed, finding that

the defendant cited no authority requiring a precise description of the phone that may contain

evidence of the crime. Id.




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       The hypothetical scenario described in Griffith is analogous to the reality of Bledsoe’s

case—the affiant had reason to believe that Bledsoe was in possession of mobile devices,

including cell phones, containing evidence of the crimes under investigation, although the affiant

was unable to describe the mobile devices with particularity. For instance, the video compilation

posted on Bledsoe’s Instagram, “theessentialmattbledsoe,” included selfie-style photographs and

videos that appeared to have been taken with a mobile device. Hale Aff., ¶ 12. And a post by

Bledsoe’s wife on her Facebook page boasting “[w]e have lots of pictures and videos” supported

the conclusion that multiple devices in the home may contain evidence of Bledsoe’s crimes.

Hale Aff., ¶ 19. These factual predicates were sufficient to justify a search for “cell phones and

other mobile devices” in Bledsoe’s home. Griffith, 867 F.3d at 1276 (“with searches of lawful

objects”, “a broader sweep” may be allowed “when a reasonable investigation cannot produce a

more particular description” of the items seized).

       Bledsoe relies heavily on the reasoning in Griffith to justify suppression of evidence in

his case. Even a cursory glance of Griffith highlights the flaws in this logic. First, Griffith

involved the seizure of all electronic devices found in a residence when there was no evidence

that the defendant used or owned a phone, much less any other electronic device. Id. at 1272. In

fact, the defendant had been incarcerated for nearly a year prior to the search, a circumstance, the

Court reasoned, that made it less likely the defendant owned or had ongoing access to a cell

phone. Id. at 1273. The facts in Bledsoe’s case stand in stark contrast. The post to his

Instagram account approximately one week prior to the search supported the conclusion that he

possessed a mobile device and used it to document his crimes.

       Second, the affidavit supporting the search warrant in Griffith was void of a basis to

believe that any phone would contain evidence of the crime. Id. at 1274. Such evidence is not



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lacking in Bledsoe’s case. The evidence in the affidavit was that a mobile device was used to

record Bledsoe’s participation in criminal acts then post photos and videos on the internet.

Additionally, Bledsoe’s wife boasted on her social media account that they kept evidence of

Bledsoe’s participation in the events of January 6, indicating she, too had access to a mobile

device and incriminating evidence sought by the warrant.

       B.      The search warrant application established a clear nexus between the cell
               phones and his criminal behavior.

       The search warrant also demonstrated “a nexus” between the evidence targeted by the

warrant and the alleged “criminal behavior.” Griffith, 867 F.3d at 1271 (citing Groh, 540 U.S. at

568); Warden v. Hayden, 387 U.S. 294, 307 (1967)). In evaluating whether a sufficient nexus

exists, the judge is required to make “a practical common sense decision whether, given all the

circumstances set forth in the affidavit … there is a fair probability that [ ] evidence of a crime

will be found in a particular place.” United States v. Ribeiro, 397 F.3d 43, 48 (1st Cir. 2005)

(quoting Gates, 462 U.S. at 238). “[T]he nature of the item and the normal inferences of where

one would likely keep such evidence” may establish a nexus. United States v. Anderson, 851

F.2d 727, 729 (4th Cir. 1988); see also Ribeiro, 397 F.3d at 48.

       The affidavit in this case set forth compelling facts and circumstances to support the

reasonable conclusion that mobile devices, including cell phones, would contain evidence of

Bledsoe’s crimes. By way of example, the affidavit describes a video in which Bledsoe is

standing immediately outside an exterior door of the Capitol and an alarm is heard blaring in the

background. Hale Aff., ¶ 14. Bledsoe records himself as he enters the Capitol Building, and

even announces his location: “In the Capitol. This is our house. We pay for this shit. Where’s

those pieces of shit at?” Hale Aff., ¶¶ 14–16. The compilation video posted to his Instagram

account is seemingly a play-by-play of his movements to, on and through the Capitol Building

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and grounds on January 6. The logical inference is that the photos and videos that made up the

compilation posted to “theessentialmattbledsoe” were captured by a mobile device. Coupled

with a post on his wife’s facebook account that “we have lots of pictures and videos” lends more

than a “fair probability” that evidence would be found on the cell phones seized from Bledsoe’s

home approximately one week from the Capitol breach.

       C.      Even if probable cause was lacking—it is not—agents’ reasonably relied on
               the search warrant issued by the magistrate.

       Even assuming, arguendo, that the Court were to find that the warrant somehow lacked

probable cause, the good faith reliance exception precludes the Court from applying the

exclusionary rule to evidence recovered from the cell phone searches. United States v. Leon, 468

U.S. 897, 919 (1984) (“evidence obtained from a search should be suppressed only if it can be

said that the law enforcement officer had knowledge, or may properly be charged with

knowledge, that the search was unconstitutional under the Fourth Amendment”). Here, there is

no evidence, argument or proffer put forth by Bledsoe that the affiant knew or should have

known that the affidavit would not have passed constitutional muster. Id. at 916-17 (“[W]e

discern no basis, and are offered none, for believing that exclusion of evidence seized pursuant to

a warrant will have a significant deterrent effect on the issuing judge or magistrate … Judges and

magistrates are not adjuncts to the law enforcement team; as neutral judicial officers, they have

no stake in the outcome of particular criminal prosecutions.”). Therefore, the warrant falls

within the good faith reliance exception. Id. at 920 (finding that the exclusionary rule should not

apply “when an officer acting with objective good faith has obtained a search warrant from a

judge or magistrate and acted within its scope”). “In the ordinary case, an officer cannot be

expected to question the magistrate’s probable-cause determination or his judgment that the form

of the warrant is technically sufficient.” United States v. Washington, 775 F.3d 405, 407 (D.C.

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Cir. 2014 (quoting Leon). In this case, the court’s probable-cause determination was technically

sound and the agents were entitled to rely on it. “[W]e ordinarily do not suppress evidence

seized pursuant to a search warrant unless the warrant affidavit was ‘so lacking in indicia of

probable cause as to render official belief in its existence entirely unreasonable.’” Cardoza, 713

F.3d at 659. Bledsoe selectively ignores facts from the affidavit to argue that probable cause

justifying the search of the cell phones found in Bledsoe’s residence was wholly absent—and he

is wrong. There is nothing about the facts of this case or the facts contained in the warrant that

would render law enforcement’s procedure—adhering to a lawfully issued warrant—

unreasonable.

                                       IV. CONCLUSION

       For the foregoing reasons, the defendant’s motion to suppress evidence (ECF 183) should

be denied.

                                              Respectfully submitted,

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                                              United States Attorney
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                   Exhibit A
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AO 93C (      )                                                                     Original                    Duplicate Original


                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                          Western District
                                                        __________ Districtofof
                                                                              Tennessee
                                                                                __________

                  In the Matter of the Search of                        )
             (Briefly describe the property to be searched              )
              or identify the person by name and address)               )      Case No.
                                                                        )
                                                                        )
                                                                        )


To:        Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                                   District of
(identify the person or describe the property to be searched and give its location):




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):




           YOU ARE COMMANDED to execute this warrant on or before                                       (not to exceed 14 days)
           in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                                                             .
                                                                                               (United States Magistrate Judge)

        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        for        days (not to exceed 30)     until, the facts justifying, the later specific date of                                 .


Date and time issued:
                                                                                                       Judge’s signature

City and state:
                                                                                                     Printed name and title
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AO 93   (   )                                            (Page 2)

                                                               Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name     of any person(s) seized:




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                    Executing officer’s signature


                                                                                       Printed name and title
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AO 93C (08118) Warrant by Telephone or Other Reliable Electronic Means
                                                                                          o   Original               o Duplicate     Original



                                           UNITED STATES DISTRICT COURT
                                                                              for the
                                                               Western District of Tennessee

                   In the Matter of the Search of                                )
               (Briejly describe the property to be searched                     )
                or identifY the person by name and address)                      )      Case No. 21-SW-019
                                                                                 )
                                                                                 )
                                                                                 )

                  WARRANT BY TELEPHONE                              OR OTHER RELIABLE                    ELECTRONIC               MEANS
To:          Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the          Western             District of              Tennessee
(identifY the person or describe the property to be searched and give its location):


  SEE ATTACHMENT             A which is attached hereto and fully incorporated            herein by reference




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identifY the person or describe the property to be seized):

  SEE ATTACHMENT              B which is attached hereto and fully incorporated           herein by reference




             YOU ARE COMMANDED to execute this warrant on or before ---'('----JJ.......'''--~_I_-~--'Z.--\--
                                                                                                          (not to exceed 14 days)
       'iI   in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or ni        good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                            Tu M. Pham
                                                                                                         (United States Magistrate Judge)

      o Pursuant to 18 U.S.c. § 31 03a(b), I fmd that immediate notification may have an adverse result listed in 18 U.S.c.
 § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
 property, will be searched or seized (check the appropriate box)
      o for __ days (not to exceed 30) 0 until, the facts justifYing, the later specific date of

 Date and time issued:            January 14, 2021


 City and state:             _M_em----'-p_h_is-'-,
                                         _T_N                             _                    TU M. PHAM,       Chief U.S. Magistrate Judge
                                                                                                                Printed name and title
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AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

                                                                             Return
Case No.:                                  Date and time warrant executed:               Copy of warrant and inventory left with:
 21-SW-019                                O\\\~\1..O~\ (t:) <)<Ott\~(!:.                  \"a~"<",~ ~.              \)\t.~<!.~L
Inventory made in the presence of: '
           ~ ••..( B.'<:,'f\   ~   \~   ;\....4..\\
Inventory of the prt,perty taken and name( s) of any person( s) seized:




                                                                         Certification


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




                                                                                                Executing   officer's signature



                                                                                                   Pr)Qted name and title
